                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal Nos. 3:14–00104
                                                    )       Judge Trauger
                                                    )
JOHN WESLEY CANTRELL, III, et al.                   )


                                      SEALED ORDER

         Given the return of a Superseding Indictment on August 13, 2014, adding numerous

defendants, it is hereby ORDERED that the trial scheduled for August 26, 2014 is

CONTINUED, to be reset by later order of the court.

         It is so ORDERED.

         ENTER this 19th day of August 2014.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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